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Honorabie Denise Cote “`”"<.; " n \ `\ /F g
U.S. District Court for the j;/AL y ja di bp%&'
Southern District of New Yorl< _d

Daniel Patrick Moynihan United States Courthouse ij m/£Y /? l :
500 P@ari street nom 1610 ',FW jj ga

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Re: SEC v. Al.pr'ne Securities Corporation, 1:17-CV-041 79~DLC-RLE

Dear Judge Cote:

Pursuant to the Court’s lndividual Practice 2.C, Plaintiff United States Securities and
Exchange Commission (“Commission”) submits this letter in response to Defendant Alpine
Securities Corporation’s (“Alpine”) letter dated October 19, 2017 requesting an informal
discovery conference

'l`he dispute involves no discovery request The Commission volunteered to prepare a set
of tables to accommodate Alpine’s objections to the Court’s discovery schedule The tables
identify by bates control number every SAR underlying a violation alleged in the complaint and
also categorize Alpine’s records according to each type of violation alleged in the Complaint:
(a) SARS that omitted necessary information (“Table A”); (b) transactions for Which Alpine
failed to file SARS (“Tables B and F”)', (c) untimely SARS (“Tables C and D”); and (d) SARs
Without supporting files (“Table E”). With respect to Table A, the Commission also identified
the records the Commission would use to show that Alpine was aware of information omitted
from each particular SAR. The information in these tables satisfies the Commission’s agreement
to show what is wrong With each SAR because it identifies deficient SARs and provides the
factual basis to show each deficiencyl

A brief review of the Cornmission’s analysis of Alpine’s records is helpful to
understand Why the Commission refused Aipine’s demand that the SEC identify each particular
red flag the SEC believes was omitted from each SAR in Table A. The Comrnission’s attorneys
and staff working at their direction reviewed thousands of SARs and supporting files produced
by Alpine in digital form. 'I`he attorneys recorded their mental impressions of the records with
digital software, and the data stored by the software was then used to generate the categories of
violations alleged in the Complaint and was the basis for rl`ables A-F. The recorded data oniy

 

 

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categorizes the records#no database or document contains a recitation of the precise
information that the Commission’s attorneys believe was wrongfully omitted from each SAR.

There are at least three problems with Alpine’s demand. Fl`rst, there is no document that
lists the Words that the Commission contends should have been included in each SAR listed in
Table A. The Commission has never created one and is under no current obligation to marshall
its intangible mental impressions into a format of Aipine’s preference SEC v. Morellr', l43
F.R.D. 42, 47 (S.D.N,Y. 1992) (Defcndant is not entitled “to ascertain how the SEC intends to
marshall the facts, documents and testimony in its possession, and to discover the inferences that
plaintiff believes properly can be drawn from the evidence it has accumulated.”). lt would also
be costly and wasteful for the Commission to do so on Alpine’s timeframe. The Commission has
retained an expert to perform a thorough analysis of whether the SARs listed in the
Commission’s schedules are defective. The deadline for expert disclosures is April 20, 2018, and
the rules governing the timing and content of expert disclosures will ensure that Alpine has “an
adequate iteration” of the Commission’s claims in due course.

Second, to the extent Alpine demands the mental impressions of the Commission’s
attorneys who conducted the investigation, Alpine already has the facts underlying the attorneys’
legal conclusions Any other information available from the attorneys’ electronic database is core
work product that is not discoverable even if there were a waiver (there is not) or substantial
need (there is none).] Fed. R. Civ. P. 26(b)(3)(B); SEC v. Ahmed, No. 3:l5CV675 (JBA), 2017
WL 1347668, at *2 (D. Conn. Apr. 7, 2017) (“[T]he touchstone of the work-product inquiry is
whether the discovery demand is made with the precise goal of learning what the opposing
attorney’s thinking or strategy may be.”) (quotation omitted).

Thira', Alpine’s claim of prejudice is speculative Alpine has not been able to describe
what different fact discovery it would pursue if it had early access to expert disclosures and/or
access to the Commission’s work product Expert discovery routinely follows fact discovery lf
expert disclosures reveal an actual injury that could be cured by additional targeted fact
discovery, the proper time for Alpine to seek relief is when that injury ripens into an actual
dispute. The Commission will continue to cooperate With reasonable requests But Alpine’s
current speculation of future harm is not a basis to accelerate expeit discovery, require
production of the Commission’s core work product, or accelerate the appropriate time for
contention interrogatories See Local Rule 33.3(c).

Sincerely,

/S/ Terrv R. Miller

Zachary T. Carlyle (pro hac vice)
Terry R. Miller (pro hac vice)

cc: Counsel of Record

 

' Alpine’s argument that the Commission waived the work product protection because it accommodated Alpine’s
objection to the Court’s discovery schedule without a privilege log is wrong for many reasonsl The mental
impressions now demanded by Alpine were never responsive to a discovery request or obligation and thus were not
“otherwise discoverable.” lled. R. Civ. P. 26(b)(5)(A). There is no substantial need for an attorney’s legal
conclusion The contentions of the Commission will be disclosed under the more fulsome demands ofRule 26(a)(2).

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